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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    BENEFYTT TECHNOLOGIES, INC., et al.,1                            )   Case No. 23-90566 (CML)
                                                                     )
                                       Debtors.                      )   (Joint Administration Requested)
                                                                     )   Re: Docket No. _____

                  ORDER (I) APPROVING THE DEBTORS’ PROPOSED
                 ADEQUATE ASSURANCE OF PAYMENT FOR FUTURE
              UTILITY SERVICES, (II) PROHIBITING UTILITY PROVIDERS
             FROM ALTERING, REFUSING, OR DISCONTINUING SERVICES,
     (III) APPROVING THE DEBTORS’ PROPOSED PROCEDURES FOR RESOLVING
     ADEQUATE ASSURANCE REQUESTS, AND (IV) GRANTING RELATED RELIEF

             Upon the emergency motion (the “Motion”)2 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) for entry of an order (this “Order”),

(a) approving the Proposed Adequate Assurance of payment for future Utility Services;

(b) prohibiting Utility Providers from altering, refusing, or discontinuing services; (c) approving

the Adequate Assurance Procedures for resolving Adequate Assurance Requests; and (d) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found



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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Benefytt Technologies, Inc. (2634); American Service Insurance Agency LLC (9115); Benefytt
      Reinsurance Solutions, LLC (4601); BimSym-HPIH, LLC (4626); Dawn Acquisition Company, LLC (0909);
      Daylight Beta Intermediate Corp. (7248); Daylight Beta Intermediate II Corp. (8842); Daylight Beta Parent Corp.
      (6788); Health Insurance Innovations Holdings, Inc. (1994); Health Plan Intermediaries Holdings, LLC (0972);
      Healthinsurance.com, LLC (9525); HealthPocket, Inc. (3710); Insurance Center for Excellence, LLC (4618);
      RxHelpline, LLC (9940); Sunrise Health Plans, LLC (3872); TogetherHealth Insurance, LLC (9503);
      TogetherHealth PAP, LLC (8439); and Total Insurance Brokers, LLC (7975). The location of the Debtors’
      service address is: 3450 Buschwood Park Drive, Suite 200, Tampa, Florida 33618.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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that it may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the

Motion were appropriate under the circumstances and no other notice need be provided; and this

Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court, if any; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

        1.      The Adequate Assurance Deposit and the Adequate Assurance Procedures are

hereby approved and are deemed adequate assurance of future payment as required by section 366

of the Bankruptcy Code.

        2.      Within three (3) business days after entry of the Order, the Debtors shall fax, e-mail,

serve by mail, or otherwise expeditiously send a copy of the Motion and this Order to the Utility

Providers on the Utility Providers List.

        3.      The Debtors are authorized to cause the Adequate Assurance Deposit to be held in

the Adequate Assurance Account during the pendency of these chapter 11 cases. No liens senior

to the interests of the Utility Providers shall encumber the Adequate Assurance Deposit or the

Adequate Assurance Account.

        4.      The following Adequate Assurance Procedures are hereby approved:

                a.      Subject to paragraphs (b)-(j) below, the Debtors shall deposit the Adequate
                        Assurance Deposit in the amount of $18,200 in the Adequate Assurance

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            Account for the benefit of the Utility Providers as soon as reasonably
            practicable, but no later than fifteen (15) business days after the entry of this
            Order; provided that, within thirty (30) days from the Petition Date, the
            Debtors may increase the Adequate Assurance Deposit to account for any
            Adequate Assurance Request that has not been mutually resolved by the
            Debtors and the applicable Utility Provider or by the Court; provided
            further that the Debtors may increase the Adequate Assurance Deposit to
            account for any Adequate Assurance Request that has not been mutually
            resolved by the Debtors and the applicable Subsequently Identified Utility
            Provider or by the Court.

      b.    The funds in the Adequate Assurance Account shall constitute adequate
            assurance for each Utility Provider in the amount set forth for such Utility
            Provider in the column labeled “Proposed Adequate Assurance” on the
            Utility Providers List.

      c.    A Utility Provider may request a disbursement from the Adequate
            Assurance Account if the Debtors have not satisfied their postpetition
            payment obligation with respect to the Utility Services in accordance with
            the terms and conditions of such service, and such payment obligation
            remains unpaid beyond any applicable grace period. No disbursement will
            be made from the Adequate Assurance Account unless the requesting
            Utility Provider provides written notice (email sufficient) to the following
            parties: (a) the Debtors, Benefytt Technologies, Inc., 3450 Buschwood
            Park Drive, Suite 200, Tampa, Florida 33618; Attn: Domenick DiCicco
            (ddicicco@bfyt.com); (b) proposed counsel to the Debtors, Kirkland &
            Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654,
            Attn: Patrick J. Nash, Jr., P.C. (patrick.nash@kirkland.com), John R. Luze
            (john.luze@kirkland.com),               Jeffrey          T.         Michalik
            (jeff.michalik@kirkland.com),                    Yusuf               Salloum
            (yusuf.salloum@kirkland.com); (c) proposed co-counsel to the Debtors,
            Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX
            77010, Attn: Matthew D. Cavenaugh (mcavenaugh@jw.com), Jennifer F.
            Wertz (jwertz@jw.com), J. Machir Stull (mstull@jw.com), Victoria N.
            Argeroplos (vargeroplos@jw.com); (d) the Office of the United States
            Trustee, 515 Rusk Street, Suite 3516, Houston, Texas 77002; (d) counsel to
            any statutory committee appointed in these cases; (e) counsel to the DIP
            Agent; (f) counsel to the DIP Lender, Paul, Weiss, Rifkind, Wharton &
            Garrison LLP, 1285 Avenue of the Americas, New York, NY 10019, Attn:
            Joseph M. Graham (jgraham@paulweiss.com) and Leslie E. Liberman
            (lliberman@paulweiss.com); and (g) counsel to the Consenting Term
            Lenders Lenders, Akin Gump Strauss Hauer & Feld LLP, 2001 K Street
            N.W., Washington D.C. 20006 Attn: Scott L. Alberino
            (salberino@akingump.com)            and         Benjamin       L.      Taylor
            (taylorb@akingump.com) (collectively, the “Notice Parties”). The Debtors
            shall honor such request within five (5) business days after the date the
            request is received by the Debtors, subject to the ability of the Debtors and

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            any such requesting Utility Provider to resolve any dispute regarding such
            request without further order of the Court. To the extent a Utility Provider
            receives a disbursement from the Adequate Assurance Account, the Debtors
            shall replenish the Adequate Assurance Account in the amount so
            disbursed.

      d.    The portion of the Adequate Assurance Deposit attributable to each
            Utility Provider shall be returned to the Debtors automatically, without
            further order of the Court, on the earlier of (i) reconciliation and payment
            by the Debtors of the Utility Provider’s final invoice in accordance with
            applicable nonbankruptcy law following the Debtors’ termination of Utility
            Services from such Utility Provider, (ii) the effective date of any chapter 11
            plan confirmed in these chapter 11 cases, or (iii) the consummation of a
            sale, pursuant to section 363 of the Bankruptcy Code, of all or substantially
            all the assets of the Debtors.

      e.    Any Utility Provider desiring additional assurances of payment in the form
            of deposits, prepayments, or otherwise must serve an Adequate Assurance
            Request on the Notice Parties within thirty (30) days beginning on the
            Petition Date; provided that any Subsequently Identified Utility Provider
            desiring additional assurances of payment in the form of deposits,
            prepayments, or otherwise must serve an Adequate Assurance Request on
            the Notice Parties within twenty-one (21) days from the date of service of
            the Motion and the Order.

      f.    The Adequate Assurance Request must (i) be made in writing, (ii) set forth
            the location(s) for which Utility Services are provided, the account
            number(s) for such location(s), and the outstanding balance for each such
            account, and (iii) explain why the Utility Provider believes the Proposed
            Adequate Assurance is not sufficient adequate assurance of future payment
            under section 366 of the Bankruptcy Code or the basis for seeking the
            Adequate Assurance Request, each as applicable.

      g.    Unless and until a Utility Provider files an objection or serves an Adequate
            Assurance Request in accordance with the Adequate Assurance Procedures,
            the Utility Provider will be (i) deemed to have received “satisfactory”
            adequate assurance of payment in compliance with section 366 of the
            Bankruptcy Code and (ii) forbidden from discontinuing, altering, or
            refusing Utility Services to, or discriminating against, the Debtors on
            account of any unpaid prepetition charges or requiring additional assurance
            of payment other than the Proposed Adequate Assurance.

      h.    The Debtors may, in consultation with the advisors to the Consenting Term
            Lenders, the Consenting Revolving Lenders, and the DIP Lender, and
            without further order from the Court, resolve an Adequate Assurance
            Request by mutual agreement with a Utility Provider, and the Debtors may,
            in connection with any such agreement, provide a Utility Provider with

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                      additional adequate assurance of payment including cash deposits,
                      prepayments, or other forms of security if the Debtors believe that such
                      adequate assurance is reasonable after consultation with each of the advisors
                      to the Consenting Term Lenders, the Consenting Revolving Lenders, and
                      the DIP Lender; provided, however, that the Debtors shall maintain a
                      summary record of such agreements and their respective terms, and such
                      summary record and the agreements themselves shall be available to any
                      official committee appointed in these cases and the U.S. Trustee upon
                      demand.

               i.     If the Debtors and the Utility Provider are not able to reach an alternative
                      resolution within fourteen (14) days of receipt of the Adequate Assurance
                      Request, the Debtors or the Utility Provider will request a hearing before
                      the Court as soon as reasonably practicable, to determine the adequacy of
                      assurances of payment with respect to a particular Utility Provider
                      (the “Determination Hearing”) pursuant to section 366(c)(3) of the
                      Bankruptcy Code.

               j.     Pending resolution of the Determination Hearing, the Utility Provider filing
                      such Adequate Assurance Request will be prohibited from altering,
                      refusing, or discontinuing Utility Services to the Debtors on account of
                      unpaid charges for prepetition services or on account of any objections to
                      the Proposed Adequate Assurance.

       5.      The Utility Providers are prohibited from requiring additional adequate assurance

of payment other than pursuant to the Adequate Assurance Procedures set forth herein.

       6.      Unless and until a Utility Provider files an objection or serves an Adequate

Assurance Request, such Utility Provider shall be:         (a) deemed to have received adequate

assurance of payment “satisfactory” to such Utility Provider in compliance with section 366 of the

Bankruptcy Code; and (b) forbidden from (i) discontinuing, altering, or refusing services to, or

discriminating against, the Debtors on account of any unpaid prepetition charges, the

commencement of these chapter 11 cases, or any perceived inadequacy of the Proposed Adequate

Assurance, and (ii) requiring additional assurance of payment other than the Proposed Adequate

Assurance.

       7.      The inclusion of any entity in, as well as any omission of any entity from, the Utility

Providers List shall not be deemed an admission by the Debtors that such entity is, or is not, a

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utility within the meaning of section 366 of the Bankruptcy Code, and the Debtors reserve all rights

and defenses with respect thereto.

       8.      The Debtors are authorized, in consultation with the advisors to the Consenting

Term Lenders, the Consenting Revolving Lenders, and the DIP Lender, to: (a) add any

Subsequently Identified Utility Provider to the Utility Providers List; (b) remove any Utility

Provider from the Utility Providers List; and (c) add to or subtract from the Adequate Assurance

Deposit the portion of such deposit allocated to added or removed Utility Providers or

Subsequently Identified Utility Providers; provided that the Debtors shall provide notice (as set

forth in paragraph 10 herein) to the Subsequently Identified Utility Provider of its addition to the

Utility Providers List and of its corresponding proposed Adequate Assurance Deposit; provided

further, that the Debtors shall provide fourteen (14) days’ notice to the Utility Provider that it is

being removed from the Utility Providers List and that the corresponding amount in the Adequate

Assurance Deposit will be deducted from the Adequate Assurance Account. If an objection is

received, the Debtors may request a hearing before this Court regarding such objection. The

Debtors shall not deduct the Adequate Assurance Deposit in the amount set aside for any Utility

Provider that the Debtors seek to terminate or delete from the Utility Providers List unless and

until the fourteen (14) day notice period has expired.

       9.      The Debtors must: (a) serve any Subsequently Identified Utility Provider a copy

of the Motion and Order within three (3) business days of such provider being added to the Utility

Providers List; (b) allocate additional amounts to the Adequate Assurance Deposit in accordance

with this Order; and (c) provide notice to the Subsequently Identified Utility Provider of its

proposed Adequate Assurance Deposit.         Any Subsequently Identified Utility Provider shall

(a) be bound to the Adequate Assurance Procedures and (b) have twenty-one (21) days from the



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date of service of the Motion and the Order to make a request for additional adequate assurance of

payment in accordance with the Adequate Assurance Procedures.

        10.     The Debtors shall not add any Utility Providers to the Utility Providers List after

thirty (30) days from the Petition Date.

        11.     Notwithstanding the relief granted herein and any actions taken pursuant to such

relief, nothing in this Order shall be deemed: (a) an admission as to the amount of, basis for, or

validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

admission that any particular claim is of a type specified or defined in the Motion or any order

granting the relief requested by the Motion or a finding that any particular claim is an

administrative expense claim or other priority claim; (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code;

(f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

interest in, or other encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of

the Debtors’, or any other party in interest’s, rights under the Bankruptcy Code or any other

applicable law; or (h) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens.

        12.     Notwithstanding anything to the contrary in this Order, any payment made or to be

made hereunder, and any authorization herein, shall be subject to the requirements (if any) imposed

on the Debtors under any order(s) of this Court approving the postpetition secured debtor in



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possession financing facility and the use of cash collateral (any such order, a “Financing Order”),

including any documentation with respect to such financing and any budget in connection with

such Financing Order. In the event of any conflict between the terms of this Order and a Financing

Order, the terms of the applicable Financing Order shall control (solely to the extent of such

conflict).

         13.   The banks and financial institutions on which checks were drawn or electronic

funds transfer requests made in payment of the prepetition obligations approved herein are

authorized to receive, process, honor, and pay all such checks and electronic payment requests

when presented for payment, and all such banks and financial institutions are authorized to rely on

the Debtors’ designation of any particular check or electronic payment request as approved by this

Order.

         14.   The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with the relief granted herein.

         15.   The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

         16.   Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

         17.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

         18.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.



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       19.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


 Dated: __________, 2023
                                                     UNITED STATES BANKRUPTCY JUDGE




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                             Exhibit 1

                       Utility Providers List
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                                                          Utility Providers List


                                                                                                        Adequate Assurance
Utility Provider               Utility Address                      Service Provided Account Number     Estimate (in $)

AT&T Corp                      ACC Business                         Phone Service;   00001227913;
                               400 West Avenue                      Internet         00001223644        $1,379.35
                               Rochester, NY 14611
AT&T Mobility                  P.O. Box 6463                        Phone Service;   287262990845       $186.80
                               Carol Stream, IL 60197               Internet
Charter Communications         Charter Communications               Phone Service;   105393901
Holdings, LLC                  P.O. Box 223085                      Internet                            $2,323.50
                               Pittsburgh, PA 15251-2085
City of Port St. Lucie         Utility Systems Dept.                Water            1066133054425;
                               P.O. Drawer 8987                                      1066133816628      $997.18
                               Port St. Lucie, FL 34985-8987
Comcast Cable                  P.O. Box 71211                       Phone Service;   708678076; 8535 11 $1,419.58
Communications                 Charlotte, NC 28272-1211             Internet         485 1623567;
Management, LLC                                                                      930892126
CyraCom International, Inc.    P.O. Box 74008076                    Phone Service;   908696             $158.94
                               Chicago IL 60674-8076                Internet
Florida Power & Light          General Mail Facility                Electricity      70751-41395        $5,050.33
Company                        Miami, FL 33188-0001
Lumen Tech d/b/a Level 3       100 CenturyLink Drive                Phone Service;   5-2VVPSBYB;        $1,244.81
Communications, LLC            Monroe, LA 71203                     Internet         5-2VVPSBY
Stiles Property Fund LP        301 East Las Olas Blvd               Electricity      n/a                $1,213.21
                               Ft. Lauderdale, FL 33301
Vonage Business                Dept. # 3151                         Phone Service;   40731; 908060;
                               P.O. Box 123151                      Internet         914700;            $4,184.37
                               Dallas, TX 75312-3151                                 914699; 914701;
                                                                                     914753
